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                            UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


IN RE:

TZIREL B. BLEIER,                                        CASE NO. 19-07508-CPM

                                                         Chapter 7

                            Debtor             /


                                  NOTICE OF ABANDONMENT

PURSUANT TO SECTION 554, BANKRUPTCY CODE, AND F.R.B.P. 6007, NOTICE IS HEREBY
GIVEN OF THE ABANDONMENT OF THE FOLLOWING PROPERTY THAT IS BURDENSOME
AND HAS NO EQUITY FOR THE BENEFIT OF THE CHAPTER 7 ESTATE:

2018 Nissan Rogue Vin #5N1AT2MVXJC833801
2018 Hyundai Elantra Vin#B460802825540


                 NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING
 ______________________________________________________________________________
Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without
further notice or hearing unless a party in interest files a response within 14 days from the date set
forth on the attached proof of service, plus an additional three days for service if any party was
served by U.S. Mail.

If you object to the relief requested in this paper, you must file a response with the Clerk of the
Court at 801 N. Florida Avenue Suite 555 Tampa, FL 33602-3899 and serve a copy on the
movant’s attorney, Traci K. Stevenson at P.O. Box 86690 Madeira Beach, FL 33738 , and any
other appropriate persons within the time allowed. If you file and serve a response within the time
permitted, the Court will either schedule and notify you of a hearing, or consider the response and
grant or deny the relief requested without a hearing.

 If you do not file a response within the time permitted, the Court will consider that you do not
oppose the relief requested in the paper, will proceed to consider the paper without further notice or
hearing, and may grant the relief requested.
_________________________________________________________________________




                              CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the above and foregoing has been
furnished by U.S. Mail, electronically or hand delivered this September 26, 2019 to:
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U.S. TRUSTEE, 501 Polk St., Ste 1200, Tampa, FL 33602
Debtor, Tzirel B. Bleier, 137 Navigation Circle, Osprey, FL 34229,
Debtor’s Atty, Timothy W Gensmer, 2831 Ringling Blvd, Suite 202-a, Sarasota, FL 34237
And all creditors on the attached mailing matrix


                                          /s/ Traci Stevenson
                                          TRACI K. STEVENSON, Trustee
                                          P.O. Box 86690
                                          Madeira Beach, FL 33738
                                          (727) 397-4838
                                          FBN 942227
                                          tracikstevenson@gmail.com
